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                       IJNITED STATES DISTRICT COURT

                            DISTRICT OF NEW JERSEY


      STEPHEN SILVERMAN, Derivatively on   ) Case No. 2:12-CV-6540 SDW-SCM
      Behalf of PRUDENTIAL FINANCIAL,      )
      INC.,                                )
                                           )
                     Plaintiff,            )
                                           )
           v.                              ) [PROPOSE1 ORDER
                                           REGARDING
      JOHN R. STRANGFELD, RICHARD J.     ) ADMINISTRATIVE CLOSURE
      CARBONE, MARK B. GRIER, PETER B.)
      SAYRE, JAMES G. CULLEN, JAMES A. )
      IJI’4RUH, GILBERT F. CASELLAS,     )
      MARTINA HUND-MEJEAN, WILLIAM )
      H. GRAY III, CONSTANCE J. HORNER, )
      KARL J. KRAPEK, GASTON             )
      CAPERTON, GORDON M. BETHUNE,       )
      CHRISTINE A. POON, THOMAS J.       )
      BALTIMORE, JR., and JON F. HANSON, )
                                           )
                     Defendants,           )
                                           )
           -and-                           )
                                           )
      PRUDENTIAL FINANCIAL, INC., a New)
      Jersey corporation,              )
                                           )
                     Nominal Defendant.    )
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           WHEREAS on May 12, 2015, the parties submitted a letter at the Court’s

   direction regarding possible consolidation or administrative termination of this

   action (the “Action”);

           WHEREAS subject to the terms set forth herein, the parties agree that it is

   in the interests of nominal defendant Prudential and judicial economy to not

   oppose administrative termination or closure of this action pending the disposition

   of the factually related securities fraud class action being litigated before the Court,

   City of Sterling Heights General Employees’ Retirement System v. Prudential

   Financial, Inc., Case No. 2:12-cv-05275-MCA-LDW (the “Class Action”),

           Accordingly, IT IS ORDERED THAT

           1.    This Action shall be administratively closed for statistical purposes

   only.

           2.    All proceedings in this case are SUSPENDED, and all deadlines

   concerning the filing, designation, or response to any complaint in this action are

   VACATED and HELD IN ABEYANCE.

           3.    Nothing in this Order shall be deemed to adversely affect or in any

   way impact the parties’ rights, including but not limited to Plaintiff’s discovery

   and settlement-related rights and Defendants’ rights regarding filing any

   responsive pleadings and briefing applicable to the Complaint set forth in the

   Court’s Order Regarding Case Management, dated November 9, 2012 (Dkt. No. 7),




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   and Plaintiffs rights with regard to amending his complaint and Defendants’ rights

   regarding filing any responsive pleading and briefmg applicable to the Complaint

   as set forth in the Court’s Order Granting Seventh Stipulation Regarding Case

   Management Matters, dated March 12, 2014 (Dkt. No. 26).

              4.   If, at any time, either party wishes to reopen this case, they may file a

    “Notice of Reopening,” whereupon the case will be immediately reopened with all

   rights preserved as of the date of this Order, and the parties shall have thirty days

   to submit a proposed scheduling order.



    DATE:




    1029007




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